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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                       8:12CR311

       vs.
                                                                        ORDER
DANIEL ESPINOZA,

                      Defendant.


Defendant Daniel Espinoza appeared before the court on May 16, 2014 on a Petition for Warrant
or Summons for Offender Under Supervision [672]. The defendant                was represented by
Assistant Federal Public Defender Julie B. Hansen on behalf of Michael F. Maloney, and the
United States was represented by Assistant U.S. Attorney Kimberly C. Bunjer.           Through his
counsel, the defendant waived his right to a probable cause hearing on the Report pursuant to
Fed. R. Crim. P. 32.1(a)(1). The government moved for detention. Through counsel, the
defendant declined to present any evidence on the issue of detention and otherwise waived a
detention hearing. Since it is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear
and convincing evidence that he is neither a danger to the community nor a flight risk, the court
finds the defendant has failed to carry his burden and that he should be detained pending a
dispositional hearing before Judge Bataillon.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Judge Bataillon.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Judge Bataillon in Courtroom
No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska,
on July 22, 2014 at 1:00 p.m. Defendant must be present in person.
       2.      The defendant, Daniel Espinoza, is committed to the custody of the Attorney
General or his designated representative for confinement in a correctional facility;
       3.      The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel; and
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       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.




       Dated this 16th day of May, 2014.

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge




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